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AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT
for the AUG 2 7 2018
Eastern District of Louisjana
C ;
Magnolia Financial Group ) DISTRICT OF Va vr
Plaintiff ) BY: DEPUTY
v. ) Civil Action No. 15-cv-7144—————
Kenneth Antos, et al )
Defendant ) 2:4 8-ms-00073

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 05/14/2018

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending. ee

Date: 08/24/2018 ee a
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MAGNOLIA FINANCIAL GROUP CIVIL ACTION

VERSUS NO: 15-7144

KENNETH ANTOS, ET AL SECTION “H”
JUDGMENT

IT IS ORDERED, ADJUDGED, and DECREED that:

1. The Notes entered into by and between Antos, Becklean and KCI are
valid and enforceable per their terms and as outlined in ECF 25 and ECF
220;

2. There was default under the Notes by Becklean, Antos and KCI by at
least October 21, 2015 as outlined in ECF 220 due to lack of payment by
the debtors;

3. Judgment is rendered in favor of Magnolia Financial Group, LLC and
against the defendants, Kenneth Antos, David Becklean and KCI
Investments, LLC, in solido, in the amount of $2,947,518.81, as of June
13, 2016, together with legal interest as provided by law from date of
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demand until paid as previously determined by order of the court in ECF
220;

. Plaintiff is entitled to an “award of reasonable attorney fees and all costs
incurred in enforcing and collecting under the Note(s).” The Magistrate
will determine these amounts to be included and incorporated into the
final judgment in favor of Magnolia Financial Group, LLC in this matter,
together with legal interest as provided by law, from date of demand
until paid against Becklean, Antos and KCI, in solido.

. Of the $2,947,518.81, this Court issues judgment in the amount of
$931,500.00, plus judicial interest as provided by law from date of
demand until paid, in favor of Magnolia Financial Group, LLC and
against Kenneth Antos for fraud based on Antos’s willful and intentional
acts in denying and depriving Magnolia Financial Group, LLC payments
due under the settlement agreement and in Antos directing such funds
to entities other than Magnolia Financial Group with the intent to use
the funds for his own or his family’s benefit, as set forth in the findings
of fact and conclusions of law previously entered in this matter at ECF
351.

. The Magistrate Judge shall determine the amount of costs of these

proceedings, with the amount to be included in a final judgment.

New Orleans, Louisiana this 14th day of May, 2018.

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J TRICHE MILAZZO
UNITED STATES DISTRICT JUDGE

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